Case 2:03-cV-02043-BBD-tmp Document 40 Filed 08/02/05 Page 1 of 3 Page|D 34

men sr Q%_ D-C--

IN THE UNITED STATES DISTRICT COURT 05 AUG_ __2 PH 12 03
FOR THE WESTERN DISTRlCT OF TENNESSEE

WESTERN DIVISION AASM GOULD
CLEHK US riz%TH‘Cl C%URT

W;'i.l fig

 

MARINO CORTEZ GREEN,

Plaintiff, Case No.: 03-2043 D A

V.
REGIONAL MEDICAL CENTER, et al.,

Defendants.

 

ORDER GRANTING MOTION TO DISMISS

 

Before the court is Defendant City of Memphis January 1 l, 2005 Motion to Dismiss. More
than six (6) months after service of the motion, Plaintiff has not responded On February 25, 2005,
the court issued a Show Cause Order requiring Plaintiff to file a response to Defendant’s motion
Similarly, Plaintiff has failed to respond to the Show Cause Order. Accordingly, the court will
decide the motion on the existing record.

On January 16, 2003, Plaintiff, Marino Cortez Green, filed a complaint under 42 U.S.C. §
1983. Plaintiff alleged that on or about October 15, 2002, he was beaten by the Regional Medical
Center (“MED”) security officers while he was handcuffed with his hands behind his back. Plaintiff
alleged that the officers beat him because he refused an x-ray. Plaintiff named the MED Security
Departrnent as a defendant By previous order entered April 22, 2003, the court directed that service
issue against the MED. That order advised Plaintiff that he had failed to name the individual security
officers who he alleged assaulted him as defendants To the extent the complaint alleged the security

officers were MED employees, the cou c strued the complaint as naming the MED as the

.\/
§§

  
 
 

Th|s document entered on the docket shoe
with F|ula 58 and/or 79(3) FRCP on

Case 2:03-cV-02043-BBD-tmp Document 40 Filed 08/02/05 Page 2 of 3 Page|D 35

defendant Plaintiff Was further advised that, upon learning the identity of the officers, Plaintiff
could seek to amend his complaint Within the one-year statute of limitations applicable in § 1983 and
personal injury actions. Tenn. Code Ann. § 28-3-104(a). On January 5, 2004, the MED filed its
Answer to the complaint

On October 19, 2004, Plaintiff filed a motion to amend his complaint based upon his
discovery that the City of Memp‘nis Police Depaitment should be named as a defendant in this action.
The Police Department is not a suable entity, therefore, the court construed Plaintiff’ s motion as
seeking to add the City of Mernphis as a defendant See generally Hafer v. Melo, 502 U.S. 21
(1991).

The City of Memphis Was never formally added or served, and the City of Memphis filed the
instant motion to dismiss based on expiration of the statute of limitations

Upon review of the entire record, the court finds that the complaint must be dismissed as
Plaintiff has failed to amend the complaint, and the statute of limitations for bringing a complaint
on the October 15, 2002 actions has expiredl

Accordingly, Defendant’s motion is GRANTED and Plaintiff` s complaint is dismissed as to

the City of Memphis.

IT IS SO ORDERED this lng day of¢j’gjg£ , 2005.

ED STATES DISTRICT IUDGE

  
   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02043 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

J ames F. Kyle

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

l\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

l\/lemphis7 TN 38l l9--397

Marino Cortez Green
600 Poplar Ave
l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

